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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

In re:                                        Case No. 18-50307-KKS
                                              Chapter 7
Roger Mills



         Debtor             /

   ORDER APPROVING CHAPTER 7 TRUSTEE APPLICATION TO
  RETAIN BK GLOBAL REAL ESTATE SERVICES AND CENTURY 21
  COMMANDER REALTY, INC. TO PROCURE CONSENTED PUBLIC
     SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330 (DOC. 63)

               This matter is before the Court on Chapter 7 Trustee’s Application to

Retain BK Global Real Estate Services Century 21 Commander Realty, Inc. to

Procure Consented Public Sale pursuant to 11 U.S.C. § § 327, 328 and 330

(“Application”) [Docket No. 63], the Court having reviewed and considered the

Application and the Affidavit of Disinterestedness does hereby order as follows:

          1.   The Application is APPROVED.

          2.   Defined terms not otherwise defined herein have the meanings given to

them in the Application and the Affidavit.

          3.   Mary W. Colón, chapter 7 trustee (“Trustee”) is authorized to retain and

compensate BKRES and local licensed Listing Agent to provide the necessary

professional assistance and representation required by the Trustee to fulfill the
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Trustee’s duties pursuant to 11 U.S.C. § 704 in order to procure Secured

Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter

7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and

Bankruptcy Rules 2014 and 2016, in accordance with the terms and conditions set

forth in the BKRES Agreement, the Listing Agreement and this Order. BKRES and

Listing Agent shall not split or otherwise share their fees with any other person or

entity unless specifically approved by this court.

        4.   BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation

shall not hereafter be subject to challenge except under the standard of review set

forth in Section 330 of the Bankruptcy Code.

        5.   BKRES and Listing Agent shall be authorized to receive and retain their

fees from Secured Creditor at the successful closing of the sale of the Property

without necessity of further order of the Court. The estate shall, in no circumstance,

be obligated to compensate or reimburse BKRES or Listing Agent in such event and

BKRES and Listing Agent shall not have a claim against the estate for any unpaid

amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor.

The estate shall have no liability for any such claim.



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        6.   Trustee is hereby authorized to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance, and

upkeep services to the subject estate Property to facilitate the sale of the Property for

the benefit of the Secured Creditor and bankruptcy estate, and to reimburse the

Brokers in a maximum amount not to exceed $500.00 for the approved reasonable,

necessary costs and expenses of preserving, or disposing of, the subject Property,

without the need for further Order only upon a sale of the Property.

        7.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.

                            June 21, 2019
      DONE AND ORDERED on _________________________.




                                         ____________________________________
                                         KAREN K. SPECIE
                                         U.S. Bankruptcy Judge


Submitted By:
Mary W. Colόn, Esq.,
Chapter 7 Trustee


Trustee Mary W. Colόn is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of entry of the order.




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